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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:08CR151
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )              TENTATIVE FINDINGS
                                              )
OSCAR COLMENARES-GONZALEZ,                    )
                                              )
              Defendant.                      )

       The Court has received the Modified Presentence Investigation Report (“PSR”) and

the Defendant’s objections thereto (Filing No. 135). See Order on Sentencing Schedule,

¶ 6. The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the

sentencing guidelines are advisory.

       The Defendant did not submit any objections to the probation officer as required

under ¶ 4 of the Order on Sentencing Schedule (Filing No. 124). For this reason and

because the objections now filed with the Court do not affect the sentencing guideline

range, they are denied. The request for a sentence of probation may be raised at

sentencing.

       IT IS ORDERED:

       1.     The Defendant’s objections to the PSR are denied;

       2.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary
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hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

      3.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

      4.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

      DATED this 8th day of September, 2009.


                                         BY THE COURT:


                                         s/Laurie Smith Camp
                                         United States District Judge




                                               2
